Case 8:20-cv-00852-TPB-AEP Document9 Filed 05/18/20 Page 1 of 2 PagelD 35

RETURN OF SERVICE

UNITED STATES DISTRICT COURT
Milddle District of Florida

Case Number: 8:20-CV-00852-TPB-AEP
Plaintiff:

Brian Davis

vs.

Defendant:
Allstate Insurance Company

For:
Plaintiffs Attorney

Received by Sylvia's Process & Investigative services on the 23rd day of April, 2020 at 10:30 am to be served on Allstate Insurance
Company c/o Chief Financial Officer, 200 East Gaines Street, Tallahassee, FL 32399.

|, Allen Pyke, do hereby affirm that on the 23rd day of April, 2020 at 1:00 pm, I:

Served the Chief Financial Officer by delivering a true copy of the Summons & Complaint with the server's identification number,
initials, date, and hour of service endorsed thereon by me on the copy served to: Colby Nutting as Agency Clerk for the Chief
Financial Officer of the State of Florida, as the designated agent to accept service of process for and on behalf of the within named
defendant Allstate Insurance Company , at 200 East Gaines Street, Tallahassee, FL 32399 and at the same time delivering
into the hand of said Chief Financial Officer in its above mentioned official capacity the sum of $15.00 as provided by FS 48-161.

Under Penalties of Perjury, | declare | have read the foregoing document and the facts stated in it are true. | am over the age of 18, of
sound mind and neither a party to or interested in the above suit. Notary not required pursuant to F.S. 92.525

 

 

Allen Pyke
|.D.#82-2nd Circuit

Sylvia's Process & Investigative services
P.O. Box 49035

Tampa, FL 33646

(813) 966-6180

Our Job Serial Number: VPS-2020004000

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Case.8:20-cv-00852-TPB-AEP Document9 Filed 05/18/20 Page 2 of 2 PagelD 36
Case 8:20-cv-00852-TPB-AEP Document5 Filed 04/14/20 Page 1 of 2 PagelD 9

AO 440 (Rev. 06/12) Summons ina Civil Action

 

UNITED STATES DISTRICT COURT

for the

Middle District of Florida

 

 

BRIAN DAVIS
Plaintiffis)
v. Civil Action No,8:20-cv-852-T-60AEP

ALLSTATE INSURANCE COMPANY

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Defendant(s)

  
  

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

ALLSTATE INSURANCE COMPANY
clo CHIEF FINANCIAL OFFICER

P O BOX 6200 (32314-6200)

200 E. GAINES ST

TALLAHASSEE, FL 32399-0000

 

4 23/20

> | 60 pr
A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) ~~ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:
Jason Imler, Esq

Printy Law Firm

3411 W. Fletcher Ave, Suite A, Tampa, Florida 33618
(P): 813-434-0649

(F): 813-423-6543

jason.imler@printylawfirm.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

   

CLERK OF COW
